
ON MOTION FOR REHEARING.
Per Curiam.
The views expressed in the opinion handed down in this cause do not conflict with the doctrine laid down by this court in Winters v. Goebner, 2 Colo. App. 259. The two cases are clearly distinguishable. In that, the purpose of the action was to enforce an agreement to execute a bond and lease of certain mining property. The written memorandum of the contract, signed by the two parties, did not recite the payment of any consideration, nor the promise to pay any consideration in the future, nor did the evidence disclose that any consideration had been paid. The court therefore very properly held that it was a mere naked agreement, without any valuable consideration, and was ■ hence not en*219forceable. In the case at bar, the written contract recited a valuable consideration of a specific amount of money to bé paid, and the promise was evidenced in the most solemn manner by the execution of a negotiable promissory note. In addition to this, the contract was executed, so far as it was possible to be done by plaintiff. ' He tendered in apt time, as this court held, full payment of his promissory note, and had also received possession of the leased premises from the defendant, and made valuable improvements thereon. This last of itself furnished a valuable consideration which defendant could not question or impeach. The motion for rehearing will be denied.
